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                                 UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

FREEDOM FROM RELIGION                                      §
FOUNDATION, INC. and JOHN ROE,                             §
                                                           §
                Plaintiffs,                                §
                                                           §
        v.                                                 §      CASE NO. 4:19-cv-1934
                                                           §
JUDGE WAYNE MACK in his personal                           §
capacity and in his official judicial capacity             §
on behalf of the State of Texas,                           §
                                                           §
                Defendants.                                §

                          ORDER GRANTING PLAINTIFFS’ MOTION
                     FOR ENTRY OF DEFAULT AND DEFAULT JUDGMENT

        Considering Plaintiffs’ Motion for Entry of Default and Default Judgment as to Defendant Judge

Wayne Mack in his official judicial capacity, the briefing, and the authorities and arguments of counsel,

this Court finds that there is good cause to grant the motion.

        IT IS THEREFORE ORDERED that Plaintiffs’ Motion for Entry of Default and Default

Judgment is GRANTED.

        IT IS FURTHER ORDERED that the Clerk of the Court shall enter a default as to

Defendant Judge Wayne Mack in his official judicial capacity.

        IT IS FURTHER ORDERED that Default Judgment be entered as to Defendant Judge

Wayne Mack in his official judicial capacity, granting declaratory relief as follows:

        The Court declares that Judge Mack’s courtroom prayer practice violates the Establishment

        Clause of the First Amendment to the United States Constitution.

         SIGNED this ____ day of __________, 2021.


                                                           ____________________________
                                                             Kenneth M. Hoyt
                                                            United States District Judge




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